Case 8:15-cv-01538-JVS-JCG Document 80 Filed 10/25/17 Page 1 of 2 Page ID #:1501



   1
   2                                                     JS-6
   3
   4
   5
   6
   7
   8
                            UNITED STATES DISTRICT COURT
   9
                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11   JOSEPH NEEV, an individual             Case No. 8:15-cv-01538-JVS-JCGx
  12                     Plaintiff,
                                              FINAL JUDGMENT
  13          v.
  14   ALCON LENSX, INC.,
       a Delaware corporation.                Judge: Hon. James V. Selna
  15
                         Defendant.           Ctrm: 10C
  16
  17   AND RELATED COUNTERCLAIMS

  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                         FINAL JUDGMENT
                                                            Case No. 8:15-cv-01538-JVS-JCGx
       sd-707760
Case 8:15-cv-01538-JVS-JCG Document 80 Filed 10/25/17 Page 2 of 2 Page ID #:1502



   1          This matter comes before the Court on the Parties’ Joint Stipulated Dismissal
   2   and Request for Entry of Judgment. Upon consideration of said Stipulation, the
   3   Court’s June 30, 2017, Order on Summary Judgment, and the record in this case, it
   4   is hereby ORDERED, ADJUDGED, and DECREED that:
   5          (1) Alcon LenSx, Inc.’s counterclaims for declaratory judgment of
   6   unenforceability of U.S. Patent No. 8,523,926 and declaratory judgment of
   7   invalidity of U.S. Patent No. 8,523,926 are dismissed without prejudice;
   8          (2) judgment is entered fully in favor of Alcon LenSx, Inc., and against Dr.
   9   Neev, as to Alcon LenSx, Inc.’s counterclaim for declaratory judgment of non-
  10   infringement of the U.S. Patent No. 8,523,926;
  11          (3) judgment is entered fully in favor of Alcon LenSx, Inc., and against Dr.
  12   Neev, as to Dr. Neev’s claim for infringement of the U.S. Patent No. 8,523,926;
  13   and that
  14          (4) Dr. Neev take nothing as to his claims against Alcon LenSx, Inc.
  15
  16
  17
       Dated: October 25, 2017         By:
  18                                                Honorable James V. Selna
  19                                                United States District Judge
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                               FINAL JUDGMENT
                                              1
                                                                  Case No. 8:15-cv-01538-JVS-JCGx
       sd-707760
